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AO 472 (Rev. 11/16; DC 1/19) Order of Detention


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                              District  of
                                                                        of __________

                   United States of America                        )
                              v.                                   )
                                                                   )   Case No.     21-mj-469-RMM
               BRIAN CHRISTOPHER MOCK
                                                                   )
                               Defendant                           )

                                        ORDER OF DETENTION PENDING TRIAL
                                                   Part I - Eligibility for Detention

     Upon the

                ޭ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                ✔ Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),
                ޭ

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

  ޭ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
    presumption that no condition or combination of conditions will reasonably assure the safety of any other person
    and the community because the following conditions have been met:
     ޭ (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
             ޭ (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
               § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
             ޭ (b) an offense for which the maximum sentence is life imprisonment or death; or
             ޭ (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
               Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
               (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
             ޭ (d) any felony if such person has been convicted of two or more offenses described in subparagraphs (a)
               through (c) of this paragraph, or two or more State or local offenses that would have been offenses
               described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
               jurisdiction had existed, or a combination of such offenses; or
             ޭ (e) any felony that is not otherwise a crime of violence but involves:
               (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
               (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
     ޭ (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
        § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise to
        Federal jurisdiction had existed; and
     ޭ (3) the offense described in paragraph (2) above for which the defendant has been convicted was
        committed while the defendant was on release pending trial for a Federal, State, or local offense; and
     ޭ (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
        defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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   ޭ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         ޭ (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
            U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
         ޭ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
         ޭ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
            or more is prescribed;
         ޭ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
            imprisonment of 20 years or more is prescribed; or
         ޭ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
            2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
            2260, 2421, 2422, 2423, or 2425.

   ޭ C. Conclusions Regarding Applicability of Any Presumption Established Above

        ޭ The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is ordered on
          that basis, with the evidence or argument presented by the defendant summarized in Part III.C.

        ޭ The defendant has presented evidence sufficient to rebut the presumption, but after considering the presumption
          and the other factors discussed below, detention is warranted for the reasons summarized in Part III.

                OR

        ޭ The defendant has not presented sufficient evidence to rebut the presumption. Moreover, after considering
          the presumption and the other factors discussed below, detention is warranted for the reasons summarized in
          Part III.

                                   Part III - Analysis and Statement of the Reasons for Detention

  A. After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
     hearing, the Court concludes that the defendant must be detained pending trial because the Government has
     proven:

          ✔ By clear and convincing evidence that no condition or combination of conditions of release will reasonably
          ޭ
            assure the safety of any other person and the community.

          ޭ By a preponderance of evidence that no condition or combination of conditions of release will reasonably
            assure the defendant’s appearance as required.

  B. In addition to any findings made on the record at the hearing, the reasons for detention include the following:

          ✔ Weight of evidence against the defendant is strong
          ޭ
          ✔ Subject to lengthy period of incarceration if convicted
          ޭ
          ޭ Prior criminal history
          ޭ Participation in criminal activity while on probation, parole, or supervision


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          ޭ   History of violence or use of weapons
          ޭ   History of alcohol or substance abuse
          ޭ   Lack of stable employment
          ޭ   Lack of stable residence
          ޭ   Lack of financially responsible sureties
          ޭ   Lack of significant community or family ties to this district
          ޭ   Significant family or other ties outside the United States
          ޭ   Lack of legal status in the United States
          ޭ   Subject to removal or deportation after serving any period of incarceration
          ޭ   Prior failure to appear in court as ordered
          ޭ
          ✔   Prior attempt(s) to evade law enforcement
          ޭ   Use of alias(es) or false documents
          ޭ   Background information unknown or unverified
          ޭ   Prior violations of probation, parole, or supervised release

C. OTHER REASONS OR FURTHER EXPLANATION:

     The defendant’s evidence/arguments for release:
     See Attachment.




     Nature and circumstances of offense:
     See Attachment.




     The strength of the government’s evidence:
     See Attachment.




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     The defendant’s history and characteristics, including criminal history:
      See Attachment.




     The defendant’s dangerousness/risk of flight:
      See Attachment.




                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:                 06/29/2021
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    ATTACHMENT TO ORDER OF DETENTION PENDING TRIAL, PART III. C:
         Consideration of Defendant’s evidence/arguments for release and
                           18 U.S.C. § 3142(g) Factors
(1) The Nature and Circumstances of the Offense:

       The nature and circumstances of the offense weigh heavily in favor of detention.

Defendant is charged with two felonies and two misdemeanor offense, Criminal Compl.

(“Compl.”), ECF No. 1, based on his alleged offense conduct of not only breaching the security

perimeter around the Capitol building and participating in the attack on the Capitol on January 6,

2021—which attack successfully stopped for some period of time the constitutionally mandated

process of counting electoral votes and caused the emergency evacuation from the Capitol

building of the Vice President, Congressional Members and staff and others legitimately inside

the building—but also aggressively confronting and actually physically assaulting two police

officers in two separate incidents. Id., Statement of Facts (“SOF”) at 1–2, 5, ECF No. 1-1. After

breaching security areas with the crowd of rioters to advance to the Lower West Terrace of the

Capitol, defendant then placed himself at the front of the mob and proceeded to confront a line of

law enforcement officers trying to prevent the mob from entering the Capitol building. Id. at 2.

       The government has proffered evidence that prior to travelling to Washington, D.C. with

his then-girlfriend, defendant expressed the intent to “[f]ight back” in the wake of the November

2020 Election. Id. at 9. Defendant also posted exhortations to “Fight back, support those who

do, get the hell out of the way or prepare to defend yourself. There has been a storm brewing

and it will sweep through this country very soon. Sic Semper Tyrranis!” Id. at 9, 13. 1


1       This Latin phrase, roughly translated to mean “thus always to tyrants,” has been used by
right-wing supremacist groups, for example, on a sign around the neck of an effigy of the
governor of Kentucky during a “Second Amendment” rally in May 2020. See Hollie Silverman,
An effigy of Kentucky Gov. Beshear was hung from a tree at the end of a Second Amendment
rally, CNN (May 25, 2020, 3:31 PM), https://www.cnn.com/2020/05/25/us/kentucky-governor-
andy-beshear-effigy/index.html.
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       While defendant brought and used no weapons at the Capitol on January 6, he faced-off

with the police, who were standing in line behind barriers on the Lower West Terrace to bar

entry to the Capitol building, and positioned himself at the front of the crowd trying, ultimately

successfully, to breach the barriers to swarm the police officers. Id. at 2. Defendant’s assaults

on the police officers occurred shortly thereafter.

       Defendant’s First Assault. At approximately 2:30 PM, body-worn camera (“BWC”)

footage shows defendant shoving a United States Capitol Police (“USCP”) officer to the ground

and, based on screenshots from videoclips showing defendant with raised knee and eyes on the

fallen officer, kicking that officer as he lay on the ground, id. at 2–3. Other police officers aided

the fallen officer and then the police reorganized their line. Defendant then approached the

police line gesturing widely with his arms and repeatedly, aggressively shouting “Get out! Go!”

at the officers. Id. at 4. Defendant’s conduct was so aggressive that another rioter is captured on

BWC footage trying to control him by pulling on his arm to bring him away from the police line.

Id.

       Defendant’s Second Assault. At approximately 2:34 PM, as the mob advanced even

further on the Lower West Terrace, defendant was again at the front of mob directly confronting

the line of police officers holding police shields. BWC footage shows defendant aggressively

stepping forward and shoving a second USCP officer with such force that this officer too fell

backwards onto the ground. Id. at 5. This officer has advised that this fall caused the officer to

experience “excruciating pain.” Id. at 6. Thereafter, defendant picked up at least two riot shields

that had been dropped by law enforcement during their retreat from skirmishes with rioters and,




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instead of handing the shields back to law enforcement officers for their protection, passed the

shields into the crowd for use by rioters. Id. at 5–6.

       Following the assault on the Capitol, the FBI received tips from at least eight witnesses

about defendant’s conduct on January 6, 2021. Defendant’s then-girlfriend posted on Facebook

about “pulling police barricades away for the crowd to get in,” id. at 8; id. at 11 (defendant’s

then-girlfriend stating on video that “I was pulling the gates away after Brian removed them.”).

Other witnesses, including Witnesses 7 and 8, told FBI investigators that once defendant

returned to Minnesota, he “bragged about beating up cops,” id. at 12, and that he had “beat the

shit” out of a police officer, id. Indeed, defendant’s own social media postings immediately

following the assault proclaimed that he had not been “sure if [he] was going to come home” but

that law enforcement, “[w]hen faced with real men, free men, brave men,” “fled with fear and

tears in their eyes.” Gov’t’s Mot. at 10; Compl. at 12.

       Obstructive Conduct. Also concerning are defendant’s post-January 6 attempts to

intimidate his now ex-girlfriend with whom he traveled to Washington, D.C. on January 6, 2021.

Defendant, upon seeing publicly-posted FBI photos of himself, warned this ex-girlfriend that he

would “make it bad” for her and that he would “make her life hell” if she provided any

information to the FBI. Gov’t’s Mot. at 11. According to defendant’s ex-girlfriend, defendant

additionally commented something like “I’m warning you, they’re going to be after you too, and

if you are the one that tipped them off you’re going to go down with me” and showed up to her

house unannounced more than once after the two broke up and harassed her. Id. While the

magistrate judge accepted that these threats could be construed as violent and found it

“disconcerting” that defendant “communicated with a witness and attempted to prevent her from

cooperating with the government,” MJ Hr’g Tr. (Jun. 15, 2021) at 74:16–25, ECF No. 12-1, she



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ultimately determined that this conduct, which was “obstructive, but not violent,” could be

“addressed with the application of conditions,” id. at 74:24–25; id. at 75:9–12, given that

defendant “didn’t act on any of those communications,” the ex-girlfriend “didn’t describe any

threats of physical violence,” and “the [ex-girlfriend] didn’t get an order of production [sic] or

express to law enforcement that this had been ongoing behavior or that [defendant] had been

driving by her home or posting threats on Facebook or any of the things that would take it into a

more aggravating nature,” id. at 75:1–9. The ex-girlfriend’s decisions not to seek an order of

protection or to furnish law enforcement with the information about the defendant until after

defendant was arrested on June 11, 2021 can also be viewed as defendant’s threats effectively

giving his ex-girlfriend a credible fear of informing on him, particularly since she reported that

defendant “showed up unannounced at her house more than once and harassed her after their

breakup.” Gov’t’s Mot. at 11.

       As a result of this offense conduct, as noted, defendant is charged with two serious felony

offenses and two misdemeanor offenses. Specifically, he is charged with forcibly assaulting,

resisting, opposing, impeding, intimidating or interfering with any person designated in 18

U.S.C. §1114 while engaged in or on account of the performance of official duties, in violation

of 18 U.S.C. § 111(a)(1), which offense carries up to 8 years imprisonment; and with committing

or attempting to commit any act to obstruct, impede, or interfere with any law enforcement

officer lawfully engaged in the lawful performance his official duties incident to and during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

the performance of any federally protected function, in violation of 18 U.S.C. § 231(a)(3), which

offense carries up to 5 years imprisonment.




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       While defendant is not alleged to have engaged in prior planning for violence, United

States v. Chrestman, Case No. 21-mj-218 (ZMF), 2021 LEXIS 36117, at *22 (D.D.C. Feb. 26,

2021), even if he may have anticipated it; carried or used a dangerous weapon during the Capitol

attack, id.; entered the Capitol building, id. at *23; or coordinated with other riot participants

“before, during or after the riot,” id., other aspects of his conduct cross the line to warrant

detention. The D.C. Circuit has instructed that “those who actually assaulted police officers and

broke through windows, doors, and barricades, and those who aided, conspired with, planned, or

coordinated such actions, are in a different category of dangerousness than those who cheered on

the violence or entered the Capitol after others cleared the way.” United States v. Munchel, 991

F.3d 1273, 1284 (D.C. Cir. 2021). This defendant falls within the “different category” of

January 6 defendants identified in Munchel by virtue of having physically assaulted two police

officers while helping the crowd gain entry to the Capitol building. By contrast, the defendants

in Munchel, though carrying a dangerous weapon (taser) inside the Capitol, did not activate the

weapon, vandalize any property or physically harm any person. Id.

       In addition, rather than merely being one of the crowd following others, defendant

“assumed . . . a de facto leadership role in the assault” by positioning himself at the front of the

mob, aggressively taunting and assaulting police to disrupt the police defense, which allowed the

mob to enter the Capitol, passing out riot shields he had stolen from law enforcement, all of

which conduct “encourage[ed] other rioters’ misconduct.” Chrestman, 2021 U.S. Dist. LEXIS

361117 at *23. Defendant’s “confront[ation with] . . . law enforcement,” id. at *24, including his

“attempt[s] to injure” two officers, whom defendant in quick succession shoved to the ground

and/or kicked, id. at *23, demonstrates defendant’s willingness to engage in aggressive and

violent conduct towards police officers in order to pursue his own political views, which views



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seem to persist. This conduct, along with his attempts to pressure a witness not to reveal

evidence against him from FBI investigators, weighs in favor of pretrial detention.

(2) The Weight of the Evidence Against the Person:

       The weight of the evidence against the defendant strongly favors detention. The

government has over a dozen photos, video clip screenshots and two videoclips showing

defendant engaged in the offense conduct underlying the charges against him, including his two

assaults on two different USCP officers and taking an aggressive role at the front of the crowd of

rioters standing off against the police. SOF at 2–7, 10–11; Gov’t’s Ex. A, BWC Footage from

MPD Officer C.W. (“C.W. BWC Footage”); Gov’t’s Ex. E, BWC Footage from MPD Officer

H.F. (“H.F. BWC Footage”). Included in the evidence are two clear photos of defendant, mid-

shove, pushing down two different USCP officers and disrupting the police line’s ability to ward

off the angry crowd, SOF at 2, 5, and clear video footage of defendant stealing police shields left

on the ground where officers had been assaulted and handing them back to the mob for their use

against police officers, id. at 6; H.F. BWC Footage. Moreover, the government’s proffer

provides multiple witness statements recalling defendant bragging about “beating up officers”

once defendant was home in Minnesota, Gov’t’s Mot. at 15, in addition to records of defendant’s

own statements about “fight[ing] back,” Compl. at 9.

(3) The History and Characteristics of the Person:

       The history and characteristics of the defendant also weigh in favor of detention. On the

one hand, defendant has close ties to Minnesota, where he has lived for the past 21 years. Def.’s

Opp’n at 2. He currently lives in his own home and does not own any firearms. Id. His mother

expresses her strong support, describing defendant as “hardworking” and “always ensur[ing] to

meet his children’s needs.” D. Minn. Pretrial Services Report (“PSR”) (Sealed) at 2, ECF No.



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12-2. Defendant was additionally employed by a landscaping company from 2009 to 2021, at

which point defendant lost his job “due to the anticipated negative publicity related to the

investigation and filing of the pending charges,” id. at 3.

       On the other hand, defendant’s criminal history and recent conduct raise serious red flags

of concern. He has a past conviction for second-degree assault with a dangerous weapon that,

although eleven years old, involved extremely troubling conduct. That conviction stemmed from

an incident in which defendant accosted three teenagers, whom defendant suspected of setting a

portable toilet on fire, and pointed a gun at the children’s heads. Gov’t’s Mot. at 11. When a

woman bystander tried to intervene, defendant pushed her and called her a “f****** b****,” id.,

and then later told his wife to lie to the police, instructing “if the cops come, I was here all

night,” PSR at 5. Then, when police arrived at the scene, defendant refused to follow police

directions to surrender and come out of his home, prompting the local police department to call a

SWAT team to apprehend defendant. Id. Moreover, despite the restrictions imposed upon

defendant during pretrial release for his second-degree assault charge, defendant was

subsequently arrested two different times for disorderly conduct. Id. Defendant was ultimately

sentenced to 365 days in jail, 36 months custody stayed seven years and seven years’ probation,

which probationary term expired in January 2018. To his credit, defendant had no violations

during supervision nor has had any arrests or convictions since then, until now.

       Standing alone, defendant’s single, eleven-year-old conviction would not be either

dispositive nor even weigh heavily in favor of pretrial detention. Yet, the similarities between

defendant’s violent and aggressive conduct underlying his prior assault conviction and

defendant’s recent threatening conduct towards his ex-girlfriend in service of concealing

evidence against him, and particularly the menacing nature of defendant “show[ing] up



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unannounced” to his ex-girlfriend’s house and harassing her, raises serious question whether

defendant can be safely released under any conditions without risking danger to prospective

witnesses.

       Taken together, even in light of defendant’s mitigating history and characteristics, the

considerations relevant to this factor favor pretrial detention.

(4) The Nature and Seriousness of the Danger to Any Person or the Community that
    Would be Posed by the Person’s Release:

       The nature and seriousness of the danger to the community posed by the defendant’s

release also weigh in favor of detention. Defendant was part of the mob attack on the Capitol in

which many people, including police officers, were injured—some fatally—and Congress’s

constitutional task of counting electoral college votes was disrupted and delayed. Defendant’s

2011 charge and the circumstances surrounding that incident, his willingness to attack two

different police officers with his bare hands, his brazen lack of remorse for his actions and his

disturbing attempts to intimidate his ex-girlfriend into concealing evidence of his conduct, taken

together, amplify concern that defendant risks obstruction and that no condition or conditions

will assure the safety of the community and potential witnesses, if he were to be released.

       Defendant, acknowledging that “[w]hatever potential persuasiveness the government’s

failure to seek detention in another case carries in the abstract, every such decision by the

government is dependent on the specific facts and circumstances of each case,” Def.’s Suppl.

Mem. Opp’n Gov’t’s Mot. Emergency Stay and for Review of Release Order (“Def.’s Suppl.”) at

1, ECF No. 15 (quoting Munchel, 991 F.3d at 1284), points to a number of comparator cases to

consider “in weighing the government’s proffer of dangerousness,” id. at 2. As the government

points out, however, defendant does “not identif[y] a single case of a released Capitol riot

defendant that involved the same trifecta of facts that establish his dangerousness,” namely, “[1]


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a violent criminal history, [2] violent conduct at the Capitol, and [3] threats to a witness

afterward.” Gov’t’s Resp. to Def.’s Suppl. Mem. (“Gov’t’s Suppl.”) at 3, ECF No. 16. Indeed,

Capitol defendants that share these traits have been detained pretrial and had their detentions

affirmed by the D.C. Circuit. See, e.g., Order of Detention Pending Trial at 6–7, United States v.

Worrell, Case No. 21-cr-292-RCL, ECF No. 13 (ordering pretrial detention of Worrell, who

allegedly discharged pepper spray gel toward law enforcement, had prior criminal history

involving impersonation of law enforcement officer, and, after arrest, made threatening

comments regarding witnesses), aff’d, United States v. Worrell, No. 21-3020, 2021 U.S. App.

LEXIS 13493 (D.C. Cir. May 5, 2021) (per curiam); Order of Detention Pending Trial at 6–7,

United States v. Sibick, Case No. 21-cr-291-ABJ, ECF No. 12 (detaining Sibick, whose criminal

history includes a 2015 misdemeanor conviction for failing to respond to a police command,

which originally included a dismissed charge for carrying a concealed firearm, and a 2010 arrest

for second degree aggravated harassment, based on January 6 alleged conduct of assaulting an

officer, stealing the officer’s badge and radio, and then burying incriminatory evidence in his

backyard and lying to law enforcement about his involvement in the Capitol assault), aff’d,

United States v. Sibick, No. 21-3015, 2021 U.S. App. LEXIS 15341 at (D.C. Cir. May 21, 2021)

(per curiam). Moreover, defendants who also engaged in egregious conduct involving the use or

discharge of a dangerous weapon on January 6 that posed a threat of harm to others, have

similarly been detained, even absent evidence of actual harm to another person, post-January 6

obstructive conduct or a violent criminal history. See, e.g., Order of Detention Pending Trial at

4–5, United States v. Quaglin, Case No. 21-mj-355-ZMF, ECF No. 14 (detaining Quaglin for

shoving police officers to the ground, shooting MK-9 OC spray “directly into the face of an




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officer who was not wearing a mask,” and later boasting of his conduct), aff’d, United States v.

Quaglin, No. 21-3028, 2021 U.S. App. LEXIS 18965 (D.C. Cir. Jun. 24, 2021) (per curiam).

       The sixteen cases defendant raises as comparators where the government did not seek

detention, thirteen of which were submitted in a spreadsheet format, are each distinguishable

from the government’s proffer in the instant case in multiple respects. For example, in one cited

comparator case, the defendant was released pre-indictment when only charged with

misdemeanor offenses, whereas here defendant is charged with both serious felony offenses and

misdemeanors. See Criminal Compl. at 1, United States v. Council, Case No. 21-cr-207-TNM

(D.D.C. Jan. 7, 2021), ECF No. 1. In another case defendant cites as a comparator, United States

v. Schaffer, see Def.’s Suppl. at 9–11, Schaffer, who is a member of the Oath Keepers and

unholstered bear spray he carried into the Capitol building during the Capitol attack, was initially

detained on the government’s motion and only released upon entering a guilty plea pursuant to a

cooperation agreement with the government—indicating a level of remorse, accountability and

acceptance of responsibility for the Capitol attack that significantly reduces risks of

dangerousness. See Order of Detention Pending Trial at 3, United States v. Schaffer, Case No.

21-cr-306-APM (D.D.C. Mar. 24, 2021), ECF No. 12; Plea Agreement at 5–6, United States v.

Schaeffer, Case No. 21-cr-306-APM (D.D.C. Apr. 16, 2021), ECF No. 29; Min. Entry, United

States v. Schaeffer, Case No. 21-cr-306-APM (D.D.C. Apr. 16, 2021) (releasing Schaffer on

personal recognizance after guilty plea).

       In a number of cited comparator cases, where defendants attempted or engaged in some

form of physical assault on police officers but where the government nonetheless did not seek

pretrial detention, the defendants lacked “any discernible criminal or violent history,” making the

threat of dangerousness they might have posed “limited to their conduct on January 6.” United



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States v. Owens, Case No. 21-cr-286 (BAH), 2021 U.S. Dist. LEXIS 101157 at *37 (D.D.C. May

28, 2021) (noting that defendants in United States v. Gossjankowski, United States v. Blair and

United States v. Leffingwell, for whom government did not seek pretrial detention, inter alia, had

no “discernible criminal or violent history”); see Pretrial Services Report (“PSR”) at 1, United

States v. Leffingwell, Case No. 21-cr-5-ABJ (D.D.C. Jan. 8, 2021), ECF No. 4; PSR at 1, United

States v. Blair, Case No. 21-cr-186-CRC (D.D.C. Feb. 17, 2021), ECF No. 5; PSR, United States

v. Sandoval, Case No. 21-cr-195-TFH-1 (D.D.C. Feb. 25, 2021), ECF No. 7; PSR at 1, United

States v. Jason Douglas Owens, Case No. 21-mj-376-RMM (D.D.C. Apr. 21, 2021), ECF No. 6;

Criminal Compl., SOF at 10–11, United States v. Jason Douglas Owens, Case No. 21-mj-376-

RMM (D.D.C. Apr. 15, 2021), ECF No. 1-1 (defendant with no criminal history and chronic

medical condition released after shoving police officer in midst of crowd of rioters); PSR at 5–9,

United States v. Palmer, Case No. 21-cr-328-TSC (D.D.C. Mar. 23, 2021), ECF No. 7 (reporting

five convictions for non-violent misdemeanor offenses, a 1989 felony conviction for organized

fraud and a single 1992 misdemeanor battery conviction); Gov’t’s Suppl. at 1–2 (noting that

Palmer “surrendered voluntarily to authorities”); Criminal Compl., SOF at 5–6, United States v.

Mackrell, Case No. 21-cr-276-CKK (D.D.C. Mar. 16, 2021), ECF No. 1-1 (defendant without

any criminal history released after striking an officer’s helmet twice and trying to grab the

officer’s face mask); Criminal Compl., SOF at 3–5, United States v. Wilson, Case No. 21-cr-345-

RCL, ECF No. 1-1 (defendant without any violent criminal history released after having “picked

up a several foot long white cylindrical object, believed to be a thin polyvinyl chloride (PVC)

pipe” and “jabbed” officers with it before “toss[ing] it at the officers”); Criminal Compl., SOF at

8, United States v. Stecher, Case No. 21-mj-276-RMM, ECF No. 1-1 (defendant with no criminal




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history released after “push[ing] against and assault[ing] officers while attempting to gain further

entry into the U.S. Capitol building.”). 2

         Finally, in the remaining comparator cases, where the defendant is alleged to have

assaulted officers in a wholly intentional manner, as here, and also has unknown criminal history

or a significant criminal history, including for violent crimes, but was nonetheless released

pretrial without government objection, the defendant was not also under investigation for

obstruction. Criminal Compl., SOF at 4–5, 7–8, United States v. Thomas, Case No. 21-mj-448-

ZMF (D.D.C. May 25, 2021), ECF No. 1-1 (Thomas allegedly “pushed against [officers’] shields

with his forearm,” returned “at least twice to punch or strike the officers with his fist and

forearm” and later “hit . . . officers with his forearm and elbow,” and “tried to kick [officers’]

shield[s],” but was released); PSR at 1, 3, United States v. Thomas, Case No. 21-mj-448-ZMF

(D.D.C. Jun. 3, 2021), ECF No. 10 (noting Thomas has significant, chronic physical health

conditions); Criminal Compl., SOF at 9, United States v. Connell, Case No. 21-cr-84-PLF

(D.D.C. Jan. 15, 2021), ECF No. 1-1 (defendant with 2016 conviction for misdemeanor battery

who claimed to have “pushed the cops against the wall,” causing them to “drop[] all their gear

and l[eave]”); Criminal Compl., SOF at 3–8, United States v. Capsel, Case No. 21-mj-122-RMM

(D.D.C. Jan. 19, 2021), ECF No. 1-1 (defendant who had no history of convictions for violent

conduct, although he had a pending charge for domestic battery and violating an order of

protection, released after engaging in physical altercation with National Guardsman a fair

distance from the Capitol building, after 6 PM, on January 6, when the Capitol attack had been

quelled); Criminal Compl., SOF at 8–9, United States v. Southard-Rumsey, Case No. 21-cr-387-


2
          Defendant also cites United States v. Stevens, where the government did move for detention before a
Florida magistrate judge, but simply did not appeal the magistrate judge’s release determination. See Gov’t’s Suppl.
at 3; see also Rule 5(c)(3) Documents at 4, United States v. Stevens, 21-cr-40-TNM (D.D.C. Feb. 12, 2021), ECF
No. 5 (recording government’s motion for detention).

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APM (D.D.C. Jun. 1, 2021), ECF No. 1-1 (defendant, whose criminal history is unknown,

released after obtaining “a flagpole which she . . . pressed against [an officer’s] chest” causing

the officer to fall backwards through a “set of doors leading onto the House floor” and “into the

Lafayette marble statute[,] striking the back of the left side of his head on the base of the

statue”).

        Consideration of the foregoing comparator cases demonstrates that pretrial detention here

fully accords with determinations of dangerousness in other cases arising from the January 6

Capitol attack, and the Court is persuaded by the government’s proffer of clear and convincing

evidence that detention is appropriate in light of the particular facts and circumstances bearing on

defendant’s case.




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